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                    1   MORGAN, LEWIS & BOCKIUS LLP
                        Ali S. Razai, Bar No. 246,922
                    2   ali.razai@morganlewis.com
                        Brandon G. Smith, Bar No. 307,676
                    3   brandon.smith@morganlewis.com
                        600 Anton Boulevard, Suite 1800
                    4   Costa Mesa, CA 92626-7653
                        Tel: +1.714.830.0600
                    5   Fax: +1.714.830.0700
                    6   Jack Hendershott (pro hac vice forthcoming)
                        jack.hendershott@morganlewis.com
                    7   101 Park Avenue
                        New York, NY 10178-0060
                    8   Tel: +1.212.309.6000
                        Fax: +1.212.309.6001
                    9
                        Attorneys for Plaintiffs
                10      LULULEMON ATHLETICA CANADA INC.
                        LULULEMON USA INC.
                11
                12                          UNITED STATES DISTRICT COURT
                13                        CENTRAL DISTRICT OF CALIFORNIA
                14
                15      LULULEMON ATHLETICA                           Case No. 2:25-cv-5864
                        CANADA INC. AND LULULEMON
                16      USA, INC.,                                COMPLAINT JURY TRIAL
                                                                  DEMANDED
                17                        Plaintiffs,
                18                  vs.
                19      COSTCO WHOLESALE
                        CORPORATION
                20
                                          Defendant.
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                    1         Plaintiffs lululemon athletica canada inc. and lululemon usa, inc. (“lululemon”
                    2   or “Plaintiffs”), by and through their undersigned counsel, for their Complaint against
                    3   Defendant Costco Wholesale Corporation (“Costco” or “Defendant”) allege as
                    4   follows:
                    5                                    INTRODUCTION
                    6         1.     lululemon is a path-breaking athletic and lifestyle apparel company
                    7   founded in 1998 in Vancouver, British Columbia, Canada. lululemon designs,
                    8   manufactures, and distributes innovative, unique and high-performing apparel,
                    9   footwear and accessories that have achieved remarkable consumer success. Since its
                10      inception, lululemon has been pioneering products that are sought after by athletes
                11      as well as a growing core of consumers who desire everyday performance wear
                12      consistent with their active lifestyles, including lululemon’s popular SCUBA®
                13      hoodies and sweatshirts, DEFINE® jackets, and ABC pants.
                14            2.     As a design and innovation led company, lululemon has invested
                15      substantial effort and resources to develop, promote, and protect its brands and
                16      innovations. lululemon’s product design process is driven by extensive research,
                17      guest feedback, and testing to develop high-performance products with innovative
                18      design concepts, impressive construction techniques, and strategic fits. As a result,
                19      consumers in the United States and around the world recognize, enjoy and rely upon
                20      lululemon’s trademarks and creative designs as signifiers of lululemon’s high-quality
                21      and high-performance products, placing them among the most recognizable athletic
                22      and lifestyle apparel in the world.
                23            3.     lululemon files this action as part of its intellectual property enforcement
                24      efforts directed to retailers who have chosen to copy rather than compete. Costco has
                25      unlawfully traded upon Plaintiffs’ reputation, goodwill and sweat equity by selling
                26      unauthorized and unlicensed apparel employing knockoff, infringing versions of
                27      Plaintiffs’ well-known trade dress and design patents (the “Infringing Products”) and
                28
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                    1   to recover fully for the monetary damages and significant harm to lululemon’s brands
                    2   and reputation caused by Defendant.
                    3         4.     Given the success of Plaintiffs’ products, some companies have
                    4   replicated or copied Plaintiffs’ proprietary apparel designs to create what are
                    5   colloquially known in the fashion world as “knockoffs” or “dupes.” There is even a
                    6   hashtag “LululemonDupes” on social media platforms such as TikTok that social
                    7   media influencers use when promoting these copycat products. The Infringing
                    8   Products create an improper association with Plaintiffs’ authentic products. Upon
                    9   information and belief, some customers incorrectly believe these Infringing Products
                10      are authentic lululemon apparel while still other customers specifically purchase the
                11      Infringing Products because they are difficult to distinguish from authentic lululemon
                12      products, particularly for downstream purchasers or observers.
                13            5.     These Infringing Products, including the products at issue in this
                14      Complaint, infringe Plaintiffs’ intellectual property rights and damage Plaintiffs’
                15      hard-earned reputation and immense goodwill. Plaintiffs’ have used various methods
                16      to remove the infringing products from the market. Plaintiffs send cease and desist
                17      letters to companies, including Defendant, who, through the advertising or sale of
                18      dupes, infringe Plaintiffs’ intellectual property.        Plaintiffs also enforce their
                19      intellectual property rights in court.
                20            6.     Upon information and belief, one of the reasons retailers such as
                21      Defendant, desire to sell dupes of Plaintiffs’ products is the potential for confusion
                22      and perceived association between dupe products and Plaintiffs’ authentic products
                23      that such sales create amongst their consumers that benefits the retailer. Indeed, one
                24      of the purposes of selling “dupes” is to confuse consumers at the point-of-sale and/or
                25      observers post-sale into believing that the “dupes” are Plaintiffs’ authentic products
                26      when they are not. For example, The Washington Post published an article titled “Is
                27      That Hoodie a Lululemon or a Costco Dupe? No One Has to Know But You.” As
                28      another example, The New York Times recently published an article titled “Are These
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                    1   $20 Costco Pants a Lululemon Dupe? We Investigated.” A true and correct copy of
                    2   this article is attached as Exhibit 1. The New York Times article stated “[w]hen I
                    3   held these two pairs of pants and inspected their construction, they looked almost
                    4   identical. I asked Lululemon whether the brand made these pants for Kirkland.” That
                    5   same article stated: “If the promise of the Lululemon ABC pants is that they can fully
                    6   replace cotton chinos, Kirkland doesn’t even begin to deliver on that with its pants.”
                    7         7.     Upon information and belief, Defendant is known to use manufacturers
                    8   of popular branded products for its own KIRKLAND® “private label” products.
                    9   Such private label sales accounts for over a third of Defendant’s sales, but neither
                10      Defendant nor the original manufacturer informs their consumers of the connection
                11      for many of the KIRKLAND-branded dupes. Upon information and belief, this
                12      source ambiguity preconditions at least some consumers into believing that private
                13      label, KIRKLAND-branded dupes are in fact manufactured by the authentic supplier
                14      of the “original” products. Defendant does not dispel this ambiguity.
                15                                 JURISDICTION AND VENUE
                16            8.     This is an action for trade dress infringement and unfair competition
                17      under the Lanham Act (15 U.S.C. § 1051 et seq.), patent infringement arising under
                18      the patent laws of the United States (35 U.S.C. § 1 et seq.), violation of the California
                19      Unfair Business Practices Act (Cal. Bus. & Prof. Code § 17200 et. seq.), and
                20      violations of the common law of the state of California.
                21            9.     This Court has subject matter jurisdiction over the federal claims
                22      asserted in this action under 28 U.S.C. §§ 1331 and 1338(a). This Court has
                23      supplemental jurisdiction over Plaintiffs’ state law claims pursuant to 28 U.S.C.
                24      § 1367(a) since they are so related to the federal claims that they form part of the
                25      same case or controversy and derive from a common nucleus of operative fact.
                26            10.    This Court has personal jurisdiction over Defendant by virtue of
                27      Defendant’s longstanding presence in this state, by having regular and established
                28      places of business in this judicial district, by placing infringing products in the stream
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                    1   of commerce marketed and directed to residents of this judicial district, by deriving
                    2   financial and commercial benefits from the sale of infringing products, by causing
                    3   injury to Plaintiffs within this judicial district and by being registered with the
                    4   Secretary of State of California to do business in this state.
                    5          11.    Venue is proper under 28 U.S.C. §§ 1391(b)-(c) because a substantial
                    6   part of the events or omissions giving rise to the claims alleged in this lawsuit
                    7   occurred in this judicial district and Plaintiffs have been injured in this judicial district
                    8   and 28 U.S.C. § 1400(b) because Defendant has a regular and established place of
                    9   business in this judicial district and committed acts of infringement in this judicial
                10      district.
                11                                           THE PARTIES
                12             12.    Plaintiff lululemon usa, inc. is a Nevada corporation with a principal
                13      place of business at 1818 Cornwall Avenue, Vancouver, British Colombia, V6J 1C7,
                14      Canada. Plaintiff lululemon athletica canada inc. is a Canadian corporation with a
                15      principal place of business at 1818 Cornwall Avenue, Vancouver, British Colombia,
                16      V6J 1C7, Canada. Plaintiffs’ performance apparel and accessories are available
                17      throughout the United States online and through retail stores, including multiple
                18      stores in this judicial district.
                19             13.    Upon information and belief, Defendant Costco Wholesale Corporation
                20      is a corporation organized and existing under the laws of the state of Washington
                21      with a principal place of business at 999 Lake Drive, Issaquah, Washington 98027.
                22      Upon information and belief, Defendant owns and operates retail stores throughout
                23      the United States, including multiple stores in this judicial district.
                24                                    FACTUAL BACKGROUND
                25             14.    Since 1998, Plaintiffs have designed, distributed, strategically marketed,
                26      offered for sale and sold premium athletic and casual lifestyle apparel and accessories
                27      under distinctive trademarked brands and trade dress, including their wildly popular
                28      SCUBA® hoodies and sweatshirts, DEFINE® jackets, and ABC pants.
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                    1           15.     The prestige and renown of Plaintiffs’ brands, including SCUBA
                    2   hoodies and sweatshirts, DEFINE jackets, and ABC pants are further enhanced by
                    3   careful marketing and distribution of Plaintiffs’ products.
                    4           16.     Plaintiffs’ products have widespread recognition.              Consumers
                    5   understand and have come to expect Plaintiffs’ products to be at the forefront of
                    6   design, creativity, high quality and unique innovation in the athletic and casual
                    7   lifestyle apparel market. Accordingly, consumers associate products originating
                    8   from, sponsored by, or affiliated with lululemon as associated with these
                    9   characteristics of quality and innovation.
                10              17.     Plaintiffs are the owner of, and have widely promoted, trademarks and
                11      trade dress, including for SCUBA hoodies and sweatshirts, DEFINE jackets, and
                12      ABC pants, several of which are registered on the Principal Register of the U.S.
                13      Patent & Trademark Office and which have earned substantial fame and considerable
                14      goodwill among the public.
                15              18.     Plaintiffs have used their trademarks and trade dress on and in
                16      association with its various lines of athletic and casual lifestyle apparel and
                17      accessories, including SCUBA hoodies and sweatshirts, DEFINE jackets, and ABC
                18      pants, as well as in connection with packaging, retail store services, and online e-
                19      commerce.
                20              19.     Plaintiffs have also secured patent protection for their designs, including
                21      designs embodied in the SCUBA hoodies and sweatshirts and DEFINE jackets.
                22         A.         The Intellectual Property Protecting Plaintiffs’ DEFINE® Apparel
                23              20.     Plaintiffs’ DEFINE jackets are protected by trade dress registered on the
                24      Principal Register of the U.S. Patent & Trademark Office for which Plaintiff
                25      lululemon athletica canada inc. owns all rights, title and interest, namely (the
                26      “Registered DEFINE Trade Dress”):
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                    1
                         Reg. No.         Mark                    Reg. Date       Date of       Relevant
                    2
                                                                                  First Use     Goods
                    3
                    4
                         7,526,264                                October 8,      2009          Clothing
                    5
                                                                  2024                          jackets
                    6
                    7
                    8
                    9
                         7,526,265                                October 8,      2009          Clothing
                10
                                                                  2024                          jackets
                11
                12
                13
                14
                                  21.   True and correct copies of the certificates of registration for the
                15
                        Registered DEFINE Trade Dress are attached hereto as Exhibits 2 and 3 and
                16
                        incorporated herein. These registrations are valid, subsisting and in full force and
                17
                        effect.
                18
                                  22.   The Registered DEFINE Trade Dress has been used exclusively and
                19
                        continuously by Plaintiffs and their subsidiaries, since at least as early as 2009, and
                20
                        has never been abandoned.
                21
                                  23.   Plaintiffs have also acquired extensive common law rights in the
                22
                        distinctive overall appearance and holistic design of its DEFINE jackets comprised
                23
                        of the following unique combination of elements (the “lululemon DEFINE Trade
                24
                25
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                    1   Dress”). Examples of products bearing the lululemon DEFINE Trade Dress are
                    2   depicted below:
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                13            24.   The lululemon DEFINE Trade Dress includes a jacket having:
                14         • approximately mirror image curvilinear ornamental lines on the front of the
                15            jacket;
                16         • one set of the mirroring curvilinear ornamental lines on the front extend from
                17            the chest to the waist;
                18         • another set of the mirroring curvilinear lines extending from the chest toward
                19            the neck region;
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                    1      • a curved ornamental line that extends across the mid-back region of the jacket;
                    2         and,
                    3      • an approximately mirror image curvilinear ornamental line from below the
                    4         ornamental line across the mid-back of the region towards the bottom seam of
                    5         the jacket.
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                              25.    The lululemon DEFINE Trade Dress has been used exclusively and
                14
                        continuously by Plaintiffs since at least as early as 2009, and has never been
                15
                        abandoned (the Registered DEFINE Trade Dress and lululemon DEFINE Trade
                16
                        Dress are collectively referred to as the “DEFINE Trade Dress”).
                17
                              26.    Plaintiffs have spent significant resources and effort to develop and
                18
                        promote public recognition of the DEFINE Trade Dress throughout the world. As a
                19
                        result of Plaintiffs’ extensive promotional efforts, sales and its continuous use for
                20
                        more than 15 years, Plaintiffs have attained high levels of recognition of the DEFINE
                21
                        Trade Dress. For example, Plaintiffs’ products bearing the DEFINE Trade Dress have
                22
                        been featured favorably in unsolicited media coverage such as USA Today, People,
                23
                        and Yahoo! Style. As another example, products bearing the DEFINE Trade Dress
                24
                        have appeared on popular shows such as Bachelorette, Big Little Lies and New Girl.
                25
                        As another example, products bearing the DEFINE Trade Dress have received
                26
                        millions of views on social media platforms such as TikTok and Instagram.
                27
                        Additionally, celebrities such as Kate Middleton, Nicole Kidman, Reese
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                    1   Witherspoon, Kristin Davis, Kourtney Kardashian, LeAnne Rimes, and Kelly Ripa
                    2   have been “spotted” wearing Plaintiffs’ products featuring the DEFINE Trade Dress.
                    3   Images of some of these individuals are shown below:
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                 10
                        As a result of Plaintiffs’ longstanding and widespread use, sales and promotion of
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                        the DEFINE Trade Dress, the public has come to recognize products bearing the
                 12
                        DEFINE Trade Dress as emanating from Plaintiffs and associate such products with
                 13
                        Plaintiffs’ high-quality goods and services.      The DEFINE Trade Dress has
                 14
                        established strong secondary meaning and extensive goodwill.
                 15
                              27.   The DEFINE Trade Dress is non-functional.          The design features
                 16
                        embodied by the DEFINE Trade Dress are not essential to the function of the product,
                 17
                        do not make the product cheaper or easier to manufacture, and do not affect the
                 18
                        quality of the product. The design elements of the DEFINE Trade Dress are not a
                 19
                        competitive necessity for apparel products. Examples of jackets that do not bear the
                 20
                        DEFINE Trade Dress are illustrated below:
                 21
                           Free People Ashton Zip Thermal            NSF Aminah Crop Cable-Knit Half-
                 22
                                                                                Zip Pullover
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                    1
                         HEAD Women's 1/2 Zip Up Pullover                 Altra Women’s Core 1/2 Zip
                    2
                                      Track Jacket                                    Pullover
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                              28.    The design features of the DEFINE Trade Dress are not comparatively
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                        simple or inexpensive to manufacture because the elements are more complex than
                 12
                        other garments. For example, the ornamental lines in the DEFINE Trade Dress make
                 13
                        products bearing the DEFINE Trade Dress more expensive to manufacture than other
                 14
                        garments without these ornamental lines. The design of the DEFINE Trade Dress is
                 15
                        not a competitive necessity.
                 16
                           B.    The Intellectual Property Protecting Plaintiffs’ SCUBA® Apparel
                 17
                 18           29.    Plaintiffs’ SCUBA hoodies and sweatshirts are protected by a number

                 19     of patents, for example, U.S. Patent No. D989,442 issued on June 20, 2023 and U.S.

                 20     Patent No. D1,035,219 issued on July 16, 2024 covering the ornamental design of

                 21     the SCUBA hoodies and sweatshirts, true and correct copies of which are attached

                 22     hereto as Exhibits 4 and 5 and incorporated herein. Plaintiff lululemon athletica

                 23     canada inc. owns all right, title and interest in these design patents.

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                    1
                         Reg. No.      Exemplar Figures                     Reg. Date       Claim
                    2                                                                       The ornamental
                         D989,442                                           June 20, 2023
                    3                                                                       design for a
                                                                                            garment, as
                    4                                                                       shown and
                    5                                                                       described
                    6
                    7
                    8                                                                       The ornamental
                         D1,035,219                                         July 16, 2024
                    9                                                                       design for a
                                                                                            garment, as
                 10                                                                         shown and
                 11                                                                         described
                 12
                 13
                 14           30.     Plaintiffs have also acquired extensive common law rights in the

                 15     distinctive overall appearance and design of their hoodies and sweatshirts sold under

                 16     the SCUBA mark (the “SCUBA Trade Dress”). Examples of products bearing the

                 17     SCUBA Trade Dress are depicted below:

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                    1         31.    The SCUBA Trade Dress includes sweatshirts and hoodies having:
                    2      • a kangaroo pocket on the front;
                    3      • the top of the kangaroo pocket is narrower than the bottom of the kangaroo
                    4         pocket;
                    5      • curved openings that extend from each side of the kangaroo pocket to
                    6         approximately the middle of the kangaroo pocket;
                    7      • a closed seam that extends linearly from approximately the middle of the
                    8         kangaroo pocket to the bottom seam of the kangaroo pocket;
                    9
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                           • a set of ornamental lines that extend from each side of the neck line toward the
                 16
                              underarm on the front of the sweatshirt, defining a region of visual texture
                 17
                              between the ornamental lines that differs from a visual texture of the adjacent
                 18
                              region.
                 19
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                              32.    The SCUBA Trade Dress has been used exclusively and continuously
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                        by Plaintiffs since at least as early as 2020, and has never been abandoned.
                 28
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                    1         33.   Plaintiffs have spent significant resources and effort to develop and
                    2   promote public recognition of the SCUBA Trade Dress throughout the world. As a
                    3   result of Plaintiffs’ extensive promotional efforts, sales and its continuous use,
                    4   Plaintiffs have attained high levels of recognition in the SCUBA Trade Dress. For
                    5   example, Plaintiffs’ products bearing the SCUBA Trade Dress have been featured
                    6   favorably in unsolicited media coverage such as Yahoo! Life and Pop Sugar.
                    7         34.   As a result of Plaintiffs’ longstanding and widespread use, sales and
                    8   promotion of the SCUBA Trade Dress, the public has come to recognize products
                    9   bearing the SCUBA Trade Dress as emanating from Plaintiffs and to identify such
                 10     products with Plaintiffs’ high-quality goods and services. The SCUBA Trade Dress
                 11     has established strong secondary meaning and goodwill.
                 12           35.   The SCUBA Trade Dress is non-functional.          The design features
                 13     embodied by the SCUBA Trade Dress are not essential to the function of the product,
                 14     do not make the product cheaper or easier to manufacture, and do not affect the
                 15     quality of the product. The design elements of the SCUBA Trade Dress are not a
                 16     competitive necessity for apparel products. Examples of sweatshirts that do not bear
                 17     the SCUBA Trade Dress are illustrated below:
                 18
                 19        Outerknown Women’s Hightide                 Tommy Hilfiger Embroidered
                 20                      Hoodie                            Tommy Logo Hoodie
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                 22
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                    1
                           Aeropostale Cloud Soft Pullover                 H&M Oversized Hoodie
                    2
                                         Hoodie
                    3
                    4
                    5
                    6
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                    8
                    9         36.    The design features of the SCUBA Trade Dress are not comparatively
                 10     simple or inexpensive to manufacture because the elements are more complex than
                 11     other garments. For example, the ornamental lines in the SCUBA Trade Dress make
                 12     products bearing the SCUBA Trade Dress more expensive to manufacture than other
                 13     garments without these ornamental lines. The design of the SCUBA Trade Dress is
                 14     not a competitive necessity.
                 15           37.    Plaintiff lululemon athletica canada inc. is also the owner of all right,
                 16     title, and interest in U.S. Trademark Registration No. 4,333,759 (the “’759
                 17     Registration) for SCUBA (the “SCUBA Mark”) for use in connection with clothing,
                 18     namely hooded sweatshirts, jackets, coats, and tops. A true and correct copy of the
                 19     Registration Certificate for the ’759 Registration is attached hereto as Exhibit 6.
                 20           38.    lululemon sells numerous products under the TIDEWATER TEAL™
                 21     mark, including the viral sensation Everywhere Belt Bag, the ALIGN product
                 22     franchise, CITY SWEAT joggers, LOUNGEFUL hoodies, SWIFTLY tank tops, and
                 23     some of lululemon’s SCUBA Trade Dress products. lululemon has continuously and
                 24     extensively used the TIDEWATER TEAL™ mark since at least 2019. Due to
                 25     lululemon’s extensive efforts, as well as the publicity associated with lululemon’s
                 26     apparel, the TIDEWATER TEAL™ mark is an important component of lululemon’s
                 27     business and recognized as symbolizing lululemon’s high quality products.
                 28
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                    1           39.     As a result of lululemon’s long, continuous, extensive, and exclusive
                    2   use of the TIDEWATER TEAL™ mark, as well as its substantial marketing,
                    3   promotion, and sale of products under the mark, the public has come to recognize
                    4   this mark as identifying products that originate from lululemon. lululemon has spent
                    5   time, effort, and expense to create valuable goodwill in the TIDEWATER TEAL™
                    6   mark. Products sold under lululemon’s TIDEWATER TEAL™ mark typically sell
                    7   very quickly relative to lululemon’s other products.         There are reddit threads
                    8   specifically discussing lululemon products sold under the TIDEWATER TEAL™
                    9   mark.
                 10             40.     lululemon’s products sold under the TIDEWATER TEAL™ mark have
                 11     been featured favorably in unsolicited media coverage such as Yahoo! Style,
                 12     Canadian Running, and ABC 7 (Los Angeles).
                 13             41.     The top listings in a Google search for “tidewater teal” returns results
                 14     referencing lululemon products and do not refer to any other sellers of clothing or
                 15     bags. Exhibit 7.
                 16             42.     Upon information and belief, none of lululemon’s competitors use
                 17     TIDEWATER TEAL in connection with clothing or bags other than the Infringing
                 18     Products.
                 19        C.         The Intellectual Property Protecting Plaintiffs’ ABC Pants
                 20             43.     Plaintiffs have also acquired extensive common law rights in the
                 21     distinctive overall appearance and holistic design of its ABC pants comprised of the
                 22     following unique combination of elements (the “ABC Trade Dress”). Examples of
                 23     products bearing the ABC Trade Dress are depicted below:
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                 14           44.     The ABC Trade Dress includes pants comprised of a fabric that has a
                 15     synthetic, flat, semi-matte appearance and appears to be largely made of a uniform
                 16     texture with four-direction stretch, i.e., it appears to be able to stretch in four
                 17     directions;
                 18     an outlined area in the crotch region that is formed by ornamental lines at least one
                 19     of which extends through the crotch region and at least partially down each leg and
                 20     another of which is curved toward the back of the pants:
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                    2   an ornamental line extending across the rear of the pants above any pockets but below
                    3   any belt loops:
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                        mirror image ornamental lines on the front of the pants extending in an arc from a
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                        region near the waistband toward the side of the pants and the ending of which is
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                        overlapped by a decorative metallic circle:
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                              45.     Plaintiffs have spent significant resources and effort to develop and
                 25
                        promote public recognition of the ABC Trade Dress throughout the world. As a result
                 26
                        of Plaintiffs’ extensive promotional efforts, sales and its continuous use for more than
                 27
                        ten years, Plaintiffs have attained high levels of recognition in the ABC Trade Dress.
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                    1   For example, advertising for products bearing the ABC Trade Dress has featured
                    2   hockey great Wayne Gretzky, football star DK Metcalf, and football coach Sean
                    3   Payton wearing products bearing the ABC Trade Dress.          As another example,
                    4   Plaintiffs’ products bearing the ABC Trade Dress have been featured favorably in
                    5   publications such as Men’s Health, Esquire, the Wall Street Journal, New York
                    6   Magazine, and The New York Times. Former President Barak Obama has also been
                    7   “spotted” wearing products bearing the ABC Trade Dress.
                    8         46.    As a result of Plaintiffs’ longstanding and widespread use, sales and
                    9   promotion of the ABC Trade Dress, the public has come to recognize products
                 10     bearing the ABC Trade Dress as emanating from Plaintiffs and to identify such
                 11     products with Plaintiffs’ high-quality goods and services. The ABC Trade Dress has
                 12     established strong secondary meaning and goodwill.
                 13           47.    The ABC Trade Dress is non-functional. The design features embodied
                 14     by the ABC Trade Dress are not essential to the function of the product, do not make
                 15     the product cheaper or easier to manufacture, and do not affect the quality of the
                 16     product. The design elements of the ABC Trade Dress are not a competitive
                 17     necessity for apparel products. Examples of pants that do not bear the ABC Trade
                 18     Dress are illustrated below:
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                    1
                         Tommy Hilfiger Men’s TH Flex           Dockers Men’s Easy Classic Fit
                    2
                               Stretch Chino Pant                    Khaki Stretch Pants
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                 16
                          H&M Relaxed-Fit Cargo Pants           Bonobos Course Legend Pants
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                    1           48.      The design features of the ABC Trade Dress are not comparatively
                    2   simple or inexpensive to manufacture because the elements are more complex than
                    3   other garments. For example, the ornamental lines in the ABC Trade Dress make
                    4   products bearing the ABC Trade Dress more expensive to manufacture than other
                    5   garments without these ornamental lines. The design of the ABC Trade Dress is not
                    6   a competitive necessity.
                    7      D.         Defendant’s Infringing Activities
                    8           49.      Plaintiffs bring this action to combat Defendant’s importation,
                    9   distribution, advertisement, marketing, offering for sale and sale in the U.S. of
                 10     apparel that infringe upon the SCUBA Hoodie Trade Dress, the SCUBA Patents, the
                 11     SCUBA Mark, the DEFINE Trade Dress, and the ABC Trade Dress.
                 12             50.      Upon information and belief, Defendant Costco is a large online and
                 13     bricks-and-mortar retailer that sells a wide variety of apparel. Defendant competes
                 14     with Plaintiffs by selling apparel nationwide, including through numerous stores
                 15     located in this judicial district and its website (www.costco.com), which is accessible
                 16     to customers in this judicial district as well as throughout the country.
                 17             51.      Upon information and belief, Defendant has imported into the U.S.,
                 18     distributed, advertised, marketed, offered for sale and/or sold at least the Infringing
                 19     Products identified under the names “Danskin Ladies Half-Zip Hoodie,” “Danskin
                 20     Half-Zip Pullover,” “Jockey Ladies Yoga Jacket,” “Spyder Women’s Yoga Jacket,”
                 21     “Hi-Tec Men’s Scuba Full Zip,” and “Kirkland 5 Pocket Performance Pant.”
                 22             52.      On November 11, 2024, lululemon wrote to Costco about its
                 23     infringement of lululemon’s intellectual property, including the SCUBA Mark and
                 24     U.S. Design Patent Nos. D989,442 and D1,035,219 and U.S. Trademark Reg. No.
                 25     4,333,759. On information and belief, Costco subsequently removed at least some
                 26     of the products that infringed lululemon’s SCUBA Mark, but later began selling the
                 27     infringing Hi-Tec Men’s Scuba Full Zip.
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                    1         i.     The Infringing “Danskin Ladies Half-Zip”
                    2         53.    Upon information and belief, Defendant imported into the U.S.,
                    3   distributed, advertised, marketed, offered for sale and/or sold at least the Infringing
                    4   Products identified under the name “Danskin Half-Zip Pullover,” an exemplar of
                    5   which is shown below next to Plaintiffs’ genuine SCUBA product embodying
                    6   Plaintiffs’ SCUBA Trade Dress and the ornamental design of the Asserted Patents
                    7   (the “Danskin Pullover Products”):
                    8
                              lululemon SCUBA® Product                 Danskin Half-Zip Pullover Front
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                              54.    Upon information and belief, Defendant imported into the U.S.,
                 16
                        distributed, advertised, marketed, offered for sale, and/or sold at least some of the
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                        Danskin Half-Zip Pullover products using the phrase “Tidewater Teal.”
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                 19           ii.    The Infringing “Danskin Ladies Half-Zip Hoodie”

                 20           55.    Upon information and belief, Defendant imported into the U.S.,
                 21     distributed, advertised, marketed, offered for sale and/or sold at least the Infringing
                 22     Products identified under the name “Danskin Ladies Half-Zip Hoodie,” an exemplar
                 23     of which is shown below next to Plaintiffs’ genuine SCUBA hoodies embodying
                 24     Plaintiffs’ SCUBA Trade Dress and the ornamental design of the Asserted Patents
                 25     (the “Danskin Hoodie Products”):
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                    1
                             lululemon SCUBA® Product                  Danskin Half-Zip Hoodie Front
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                 10           56.    Upon information and belief, Defendant imported into the U.S.,

                 11     distributed, advertised, marketed, offered for sale, and/or sold at least some of the

                 12     Danskin Half-Zip Hoodie products using the phrase “Tidewater Teal.”

                 13           iii.   The Infringing “Jockey Ladies Yoga Jacket”
                 14           57.    Upon information and belief, Defendant has imported into the U.S.,
                 15     distributed, advertised, marketed, offered for sale and/or sold at least the Infringing
                 16     Products identified under the name “Jockey Ladies Yoga Jacket,” an exemplar of
                 17     which is shown below next to Plaintiffs’ genuine DEFINE jackets embodying
                 18     Plaintiffs’ DEFINE Trade Dress (the “Jockey Products”):
                 19       lululemon DEFINE® Jacket Front               Jockey Ladies Yoga Jacket Front
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                    1
                          lululemon DEFINE® Jacket Back                 Jockey Ladies Yoga Jacket Back
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                 11           iv. The Infringing “Spyder Women’s Yoga Jacket”

                 12           58.    Upon information and belief, Defendant has imported into the U.S.,
                 13     distributed, advertised, marketed, offered for sale and/or sold at least the Infringing
                 14     Products identified under the name “Spyder Women’s Yoga Jacket,” an exemplar of
                 15     which is shown below next to Plaintiffs’ genuine DEFINE jackets embodying
                 16     Plaintiffs’ DEFINE Trade Dress (the “Spyder Products”):
                 17        lululemon DEFINE® Jacket Front              Spyder Women’s Yoga Jacket Front
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                    1
                         lululemon DEFINE® Jacket Back          Spyder Women’s Yoga Jacket Back
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                    1         v. The Infringing “Hi-Tec Men’s Scuba Full Zip”
                    2         59.    Upon information and belief, Defendant has imported into the U.S.,
                    3   distributed, advertised, marketed, offered for sale and/or sold at least the Infringing
                    4   Products identified under the name “Hi-Tec Men’s Scuba Full Zip.” An image of
                    5   Defendant’s website advertising this product is shown below:
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                 18           vi. The Infringing “Kirkland 5 Pocket Performance Pant”
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                              60.    Upon information and belief, Defendant has imported into the U.S.,
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                        distributed, advertised, marketed, offered for sale and/or sold at least the Infringing
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                        Products identified under the name “Kirkland 5 Pocket Performance Pant,” an
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                        exemplar of which is shown below next to Plaintiffs’ genuine ABC Pant embodying
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                        Plaintiffs’ ABC Trade Dress (the “5 Pocket Products”):
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                    1
                            lululemon ABC Pant Front             Kirkland 5 Pocket Pant Front
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                 14
                 15
                            lululemon ABC Pant Back              Kirkland 5 Pocket Pant Back
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                    1                               FIRST CAUSE OF ACTION
                    2                     (Trade Dress Infringement – 15 U.S.C. § 1114)
                    3          61.    Plaintiffs re-allege and incorporate by reference the allegations in
                    4   paragraphs 1 to 60 of this Complaint as though fully set forth herein.
                    5          62.    Plaintiff lululemon athletica canada inc. is the exclusive owner of all
                    6   right, title and interest in the Registered DEFINE Trade Dress and the corresponding
                    7   United States Registration Nos. 7,526,264 and 7,526,265 covering the same are valid,
                    8   subsisting and in full force and effect.
                    9          63.    The Registered DEFINE Trade Dress has acquired distinctiveness and
                 10     serves as a source-identifier for Plaintiffs’ apparel among consumers.
                 11            64.    Upon information and belief, Defendant knew or had reason to know of
                 12     the Registered DEFINE Trade Dress and Plaintiffs’ exclusive rights to use of the
                 13     same in commerce.
                 14            65.    Nevertheless, subsequent to Plaintiffs’ use and adoption of the
                 15     Registered DEFINE Trade Dress, and the development of secondary meaning in that
                 16     trade dress, Defendant has sold, offered to sell, marketed, distributed and is still
                 17     selling, offering to sell, marketing, distributing, and advertising the infringing Jockey
                 18     Products and the infringing Spyder Products.
                 19            66.    Defendant is not, and has never been, authorized by Plaintiffs to use the
                 20     Registered DEFINE Trade Dress on or in connection with the sale of any goods.
                 21            67.    Defendant’s actions have caused, and are likely to continue to cause
                 22     confusion, mistake, and deception among consumers as the origin, source,
                 23     sponsorship, approval, and/or affiliation of Defendant’s and/or its products with
                 24     Plaintiffs.
                 25            68.    Upon information and belief, Defendants’ conduct is willful, deliberate,
                 26     intentional, and in bad faith, constituting exceptional circumstances under the
                 27     Lanham Act.
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                    1          69.    Defendants’ unauthorized use of the Registered DEFINE Trade Dress
                    2   constitutes willful trademark infringement in violation of the Lanham Act, 15 U.S.C.
                    3   § 1114(1)(a), damaging Plaintiffs in an amount to be proven at trial.
                    4          70.    Defendant’s infringing conduct has directly and proximately caused
                    5   substantial, irreparable injury to Plaintiffs and to the business and goodwill
                    6   represented by the Registered DEFINE Trade Dress, and unless enjoined will
                    7   continue to do so, leaving Plaintiffs without an adequate remedy at law.
                    8                             SECOND CAUSE OF ACTION
                    9                     (Trade Mark Infringement – 15 U.S.C. § 1114)
                 10            71.    Plaintiffs re-allege and incorporate by reference the allegations in
                 11     paragraphs 1 to 60 of this Complaint as though fully set forth herein.
                 12            72.    Plaintiff lululemon athletica canada inc. is the exclusive owner of all
                 13     right, title and interest in the SCUBA Mark and the corresponding United States
                 14     Registration No. 4,333,759 covering the same is valid, subsisting and in full force
                 15     and effect.
                 16            73.    Upon information and belief, Defendant knew or had reason to know of
                 17     the SCUBA Mark and Plaintiffs’ exclusive rights to use of the same in commerce.
                 18            74.    Nevertheless, Defendant has sold, offered to sell, marketed, distributed
                 19     and is still selling, offering to sell, marketing, distributing, and advertising products
                 20     bearing marks that are confusingly similar to lululemon’s SCUBA Mark, including,
                 21     for example, Hi-Tec Men’s Scuba Full Zip.
                 22            75.    Defendant’s actions are likely to cause (and may have already caused)
                 23     confusion, mistake, and deception among consumers as the origin, source,
                 24     sponsorship, approval, and/or affiliation of Defendant and/or its products with
                 25     Plaintiffs.
                 26            76.    Defendant is not, and has never been, authorized by Plaintiffs to use the
                 27     SCUBA Mark on or in connection with the sale of any goods.
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                    1         77.    Defendant’s actions have caused, and are likely to continue to cause
                    2   confusion, mistake, and deception among consumers as the origin, source,
                    3   sponsorship, approval, and/or affiliation of Defendant’s Hi-Tec Men’s Scuba Full
                    4   Zip product with Plaintiffs.
                    5         78.    Upon information and belief, Defendants’ conduct is willful, deliberate,
                    6   intentional, and in bad faith, constituting exceptional circumstances under the
                    7   Lanham Act.
                    8         79.    Defendants’ unauthorized use of the SCUBA Mark constitutes willful
                    9   trademark infringement in violation of the Lanham Act, 15 U.S.C. § 1114(1)(a),
                 10     damaging Plaintiffs in an amount to be proven at trial.
                 11           80.    Defendant’s infringing conduct has directly and proximately caused
                 12     substantial, irreparable injury to Plaintiffs and to the business and goodwill
                 13     represented by the SCUBA Mark, and unless enjoined will continue to do so, leaving
                 14     Plaintiffs without an adequate remedy at law.
                 15                               THIRD CAUSE OF ACTION
                 16                     (Trade Dress Infringement – 15 U.S.C. § 1125(a))
                 17           81.    Plaintiffs re-allege and incorporate by reference the allegations in
                 18     paragraphs 1 to 60 of this Complaint as though fully set forth herein.
                 19           82.    Plaintiff lululemon athletica canada inc. is the exclusive owner of all
                 20     right, title and interest in the DEFINE Trade Dress.
                 21           83.    The DEFINE Trade Dress has acquired distinctiveness and serve as a
                 22     source-identifier for Plaintiffs’ apparel among consumers.
                 23           84.    Upon information and belief, Defendant knew or had reason to know of
                 24     the DEFINE Trade Dress and Plaintiffs’ exclusive rights to use of the same in
                 25     commerce.
                 26           85.     Subsequent to Plaintiffs’ use and adoption of the DEFINE Trade Dress,
                 27     and the development of secondary meaning in that trade dress, the Jockey Ladies
                 28     Yoga Jacket has been imported, distributed, advertised, offered for sale, and/or sold
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                    1   by Defendant bearing a confusingly similar reproduction of the DEFINE Trade
                    2   Dress, such as to cause a likelihood of confusion as to the source, sponsorship or
                    3   approval by Plaintiffs of the Jockey Ladies Yoga Jacket.
                    4          86.     Subsequent to Plaintiffs’ use and adoption of the DEFINE Trade Dress,
                    5   and the development of secondary meaning in that trade dress, the Spyder Women’s
                    6   Yoga Jacket has been imported, distributed, advertised, offered for sale, and/or sold
                    7   by Defendant bearing a confusingly similar reproduction of the DEFINE Trade
                    8   Dress, such as to cause a likelihood of confusion as to the source, sponsorship or
                    9   approval by Plaintiffs of the Spyder Women’s Yoga Jacket.
                 10            87.     The foregoing unlawful acts have been and are being done without
                 11     Plaintiffs’ permission or authorization, and in total disregard of Plaintiffs’ exclusive
                 12     rights to control their intellectual property. There are myriad other designs in the
                 13     athletic apparel industry, none of which necessitate copying or imitating the DEFINE
                 14     Trade Dress.
                 15            88.     The importation, distribution, advertisement, offer for sale and sale by
                 16     Defendant of the Jockey Products and the Spyder Products bearing a confusingly
                 17     similar reproduction of the DEFINE Trade Dress, is likely to lead to and result in
                 18     confusion, mistake, or deception, and is likely to cause the public to believe that
                 19     Jockey Products and the Spyder Products are produced, sponsored, authorized, or
                 20     licensed by or are otherwise connected or affiliated with Plaintiffs.
                 21            89.     Defendant’s actions are likely to cause (and may have already caused)
                 22     confusion, mistake, and deception among consumers as to the origin, source,
                 23     sponsorship, approval, and/or affiliation of Defendant and/or its products with
                 24     Plaintiffs.
                 25            90.     As a direct and proximate result of the foregoing acts, Plaintiffs have
                 26     suffered and will continue to suffer significant injuries in an amount to be determined
                 27     at trial. Plaintiffs are entitled to recover all damages, including attorneys’ fees, that it
                 28
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                    1   has sustained and will sustain, and all gains, profits and commercial advantages
                    2   obtained by Defendant as a result of its infringing acts.
                    3         91.    Unless Defendant’s unlawful acts are enjoined by this Court, there is no
                    4   adequate remedy at law that can fully compensate Plaintiffs for the harm caused by
                    5   Defendant’s infringement, which is ongoing, and Plaintiffs are entitled to injunctive
                    6   relief enjoining Defendant from continuing to infringe the DEFINE Trade Dress or
                    7   any trade dress confusingly similar thereto.
                    8                            FOURTH CAUSE OF ACTION
                    9                   (Trade Dress Infringement – 15 U.S.C. § 1125(a))
                 10           92.    Plaintiffs re-allege and incorporate by reference the allegations in
                 11     paragraphs 1 to 60 of this Complaint as though fully set forth herein.
                 12           93.    Plaintiff lululemon athletica canada inc. is the exclusive owner of all
                 13     right, title and interest in the lululemon DEFINE Trade Dress.
                 14           94.    The lululemon DEFINE Trade Dress has acquired distinctiveness and
                 15     serves as a source-identifier for Plaintiffs’ apparel among consumers.
                 16           95.    Upon information and belief, Defendant knew or had reason to know of
                 17     the lululemon DEFINE Trade Dress and Plaintiffs’ exclusive rights to use of the same
                 18     in commerce.
                 19           96.     Subsequent to Plaintiffs’ use and adoption of the lululemon DEFINE
                 20     Trade Dress, and the development of secondary meaning in that trade dress, the
                 21     Jockey Ladies Yoga Jacket has been imported, distributed, advertised, offered for
                 22     sale, and/or sold by Defendant bearing a confusingly similar reproduction of the
                 23     lululemon define Trade Dress, such as to cause a likelihood of confusion as to the
                 24     source, sponsorship or approval by Plaintiffs of the Jockey Ladies Yoga Jacket.
                 25           97.    Subsequent to Plaintiffs’ use and adoption of the lululemon DEFINE
                 26     Trade Dress, and the development of secondary meaning in that trade dress, the
                 27     Spyder Women’s Yoga Jacket has been imported, distributed, advertised, offered for
                 28     sale, and/or sold by Defendant bearing a confusingly similar reproduction of the
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                    1   lululemon DEFINE Trade Dress, such as to cause a likelihood of confusion as to the
                    2   source, sponsorship or approval by Plaintiffs of the Spyder Women’s Yoga Jacket.
                    3          98.    The foregoing unlawful acts have been and are being done without
                    4   Plaintiffs’ permission or authorization, and in total disregard of Plaintiffs’ exclusive
                    5   rights to control their intellectual property. There are myriad other designs in the
                    6   athletic apparel industry, none of which necessitate copying or imitating the
                    7   lululemon DEFINE Trade Dress.
                    8          99.    The importation, distribution, advertisement, offer for sale and sale by
                    9   Defendant of Jockey Ladies Yoga Jacket bearing a confusingly similar reproduction
                 10     of the lululemon DEFINE Trade Dress, is likely to lead to and result in confusion,
                 11     mistake, or deception, and is likely to cause the public to believe that Jockey Ladies
                 12     Yoga Jacket is produced, sponsored, authorized, or licensed by or are otherwise
                 13     connected or affiliated with Plaintiffs.
                 14            100. The importation, distribution, advertisement, offer for sale and sale by
                 15     Defendant of Spyder Women’s Yoga Jacket bearing a confusingly similar
                 16     reproduction of the lululemon DEFINE Trade Dress, is likely to lead to and result in
                 17     confusion, mistake, or deception, and is likely to cause the public to believe that
                 18     Spyder Women’s Yoga Jacket is produced, sponsored, authorized, or licensed by or
                 19     are otherwise connected or affiliated with Plaintiffs.
                 20            101. Defendant’s actions are likely to cause (and may have already caused)
                 21     confusion, mistake, and deception among consumers as to the origin, source,
                 22     sponsorship, approval, and/or affiliation of Defendant and/or its products with
                 23     Plaintiffs.
                 24            102. As a direct and proximate result of the foregoing acts, Plaintiffs have
                 25     suffered and will continue to suffer significant injuries in an amount to be determined
                 26     at trial. Plaintiffs are entitled to recover all damages, including attorneys’ fees, that it
                 27     has sustained and will sustain, and all gains, profits and commercial advantages
                 28     obtained by Defendant as a result of its infringing acts.
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                    1         103. Unless Defendant’s unlawful acts are enjoined by this Court, there is no
                    2   adequate remedy at law that can fully compensate Plaintiffs for the harm caused by
                    3   Defendant’s infringement, which is ongoing, and Plaintiffs are entitled to injunctive
                    4   relief enjoining Defendant from continuing to infringe the lululemon DEFINE Trade
                    5   Dress, or any trade dress confusingly similar thereto.
                    6                              FIFTH CAUSE OF ACTION
                    7                   (Trade Dress Infringement – 15 U.S.C. § 1125(a))
                    8         104. Plaintiffs re-allege and incorporate by reference the allegations in
                    9   paragraphs 1 to 60 of this Complaint as though fully set forth herein.
                 10           105. Plaintiff lululemon athletica canada inc. is the exclusive owner of all
                 11     right, title and interest in the SCUBA Trade Dress.
                 12           106. The SCUBA Trade Dress has acquired distinctiveness and serves as a
                 13     source-identifier for Plaintiffs’ apparel among consumers.
                 14           107. Upon information and belief, Defendant knew or had reason to know of
                 15     the SCUBA Trade Dress and Plaintiffs’ exclusive rights to use of the same in
                 16     commerce.
                 17           108. Subsequent to Plaintiffs’ use and adoption of the SCUBA Trade Dress,
                 18     and the development of secondary meaning in that trade dress, the Danskin Half-Zip
                 19     Pullover and the Danskin Half-Zip Hoodie has been imported, distributed, advertised,
                 20     offered for sale, and/or sold by Defendant bearing confusingly similar reproductions
                 21     of the SCUBA Trade Dress, such as to cause a likelihood of confusion as to the
                 22     source, sponsorship or approval by Plaintiffs of the Danskin Half-Zip Pullover and/or
                 23     the Danskin Half-Zip Hoodie.
                 24           109. The foregoing unlawful acts have been and are being done without
                 25     Plaintiffs’ permission or authorization, and in total disregard of Plaintiffs’ exclusive
                 26     rights to control their intellectual property. There are myriad other designs in the
                 27     athletic apparel industry, none of which necessitate copying or imitating the SCUBA
                 28     Trade Dress.
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                    1          110. The importation, distribution, advertisement, offer for sale and sale by
                    2   Defendant of Danskin Half-Zip Pullover and the Danskin Half-Zip Hoodie bear
                    3   confusingly similar reproductions of the SCUBA Trade Dress respectively, is likely
                    4   to lead to and result in confusion, mistake, or deception, and is likely to cause the
                    5   public to believe that Danskin Half-Zip Pullover and the Danskin Half-Zip Hoodie
                    6   are produced, sponsored, authorized, or licensed by or are otherwise connected or
                    7   affiliated with Plaintiffs.
                    8          111. Defendant’s actions are likely to cause (and may have already caused)
                    9   confusion, mistake, and deception among consumers as to the origin, source,
                 10     sponsorship, approval, and/or affiliation of Defendant and/or its products with
                 11     Plaintiffs.
                 12            112. As a direct and proximate result of the foregoing acts, Plaintiffs have
                 13     suffered and will continue to suffer significant injuries in an amount to be determined
                 14     at trial. Plaintiffs are entitled to recover all damages, including attorneys’ fees, that it
                 15     has sustained and will sustain, and all gains, profits and commercial advantages
                 16     obtained by Defendant as a result of its infringing acts.
                 17            113. Unless Defendant’s unlawful acts are enjoined by this Court, there is no
                 18     adequate remedy at law that can fully compensate Plaintiffs for the harm caused by
                 19     Defendant’s infringement, which is ongoing, and Plaintiffs are entitled to injunctive
                 20     relief enjoining Defendant from continuing to infringe SCUBA Trade Dress or any
                 21     trade dress confusingly similar thereto.
                 22                                    SIXTH CAUSE OF ACTION
                 23                      (Trade Dress Infringement – 15 U.S.C. § 1125(a))
                 24            114. Plaintiffs re-allege and incorporate by reference the allegations in
                 25     paragraphs 1 to 60 of this Complaint as though fully set forth herein.
                 26            115. Plaintiff lululemon athletica canada inc. is the exclusive owner of all
                 27     right, title and interest in the ABC Trade Dress.
                 28
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                    1          116. The ABC Trade Dress has acquired distinctiveness and serves as a
                    2   source-identifier for Plaintiffs’ apparel among consumers.
                    3          117. Upon information and belief, Defendant knew or had reason to know of
                    4   the ABC Trade Dress and Plaintiffs’ exclusive rights to use of the same in commerce.
                    5          118. Subsequent to Plaintiffs’ use and adoption of the ABC Trade Dress, and
                    6   the development of secondary meaning in that trade dress, the Kirkland 5 Pocket
                    7   Performance Pants has been imported, distributed, advertised, offered for sale, and/or
                    8   sold by Defendant bearing a confusingly similar reproduction of the ABC Trade
                    9   Dress, such as to cause a likelihood of confusion as to the source, sponsorship or
                 10     approval by Plaintiffs of the Kirkland 5 Pocket Performance Pants.
                 11            119. The foregoing unlawful acts have been and are being done without
                 12     Plaintiffs’ permission or authorization, and in total disregard of Plaintiffs’ exclusive
                 13     rights to control their intellectual property. There are a myriad of other designs in the
                 14     athletic apparel industry, none of which necessitate copying or imitating the ABC
                 15     Trade Dress.
                 16            120. The importation, distribution, advertisement, offer for sale and sale by
                 17     Kirkland 5 Pocket Performance Pants bearing confusingly similar reproductions of
                 18     the ABC Trade Dress, is likely to lead to and result in confusion, mistake, or
                 19     deception, and is likely to cause the public to believe that Kirkland 5 Pocket
                 20     Performance Pants are produced, sponsored, authorized, or licensed by or are
                 21     otherwise connected or affiliated with Plaintiffs.
                 22            121. Defendant’s actions are likely to cause (and may have already caused)
                 23     confusion, mistake, and deception among consumers as to the origin, source,
                 24     sponsorship, approval, and/or affiliation of Defendant and/or its products with
                 25     Plaintiffs.
                 26            122. As a direct and proximate result of the foregoing acts, Plaintiffs have
                 27     suffered and will continue to suffer significant injuries in an amount to be determined
                 28     at trial. Plaintiffs are entitled to recover all damages, including attorneys’ fees, that it
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                    1   has sustained and will sustain, and all gains, profits and commercial advantages
                    2   obtained by Defendant as a result of its infringing acts.
                    3          123. Unless Defendant’s unlawful acts are enjoined by this Court, there is no
                    4   adequate remedy at law that can fully compensate Plaintiffs for the harm caused by
                    5   Defendant’s infringement, which is ongoing, and Plaintiffs are entitled to injunctive
                    6   relief enjoining Defendant from continuing to infringe ABC Trade Dress or any trade
                    7   dress confusingly similar thereto.
                    8                            SEVENTH CAUSE OF ACTION
                    9                      (Trade Mark Infringement – 15 U.S.C. § 1125(a))
                 10            124. Plaintiffs re-allege and incorporate by reference the allegations in
                 11     paragraphs 1 to 60 of this Complaint as though fully set forth herein.
                 12            125. Plaintiff lululemon athletica canada inc. is the exclusive owner of all
                 13     right, title and interest in the TIDEWATER TEAL™ Mark.
                 14            126. The TIDEWATER TEAL™ Mark has acquired distinctiveness and
                 15     serves as a source-identifier for Plaintiffs’ apparel among consumers.
                 16            127. Upon information and belief, Defendant knew or had reason to know of
                 17     the TIDEWATER TEAL™ Mark and Plaintiffs’ exclusive rights to use of the same
                 18     in commerce.
                 19            128. Subsequent to Plaintiffs’ use and adoption of the TIDEWATER
                 20     TEAL™ Mark, and the development of secondary meaning in that mark, Defendant
                 21     has sold, offered to sell, marketed, distributed and is still selling, offering to sell,
                 22     marketing, distributing, and advertising products bearing marks that are confusingly
                 23     similar to lululemon’s TIDEWATER TEAL™ Mark, including, for example,
                 24     Danskin Ladies Half-Zip and Danskin Ladies Half-Zip Hoodie in Tidewater Teal.
                 25            129. Defendant’s actions are likely to cause (and may have already caused)
                 26     confusion, mistake, and deception among consumers as the origin, source,
                 27     sponsorship, approval, and/or affiliation of Defendant and/or its products with
                 28     Plaintiffs.
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                    1         130. Defendant is not, and has never been, authorized by Plaintiffs to use the
                    2   TIDEWATER TEAL™ Mark on or in connection with the sale of any goods.
                    3         131. Defendant’s actions have caused, and are likely to continue to cause
                    4   confusion, mistake, and deception among consumers as the origin, source,
                    5   sponsorship, approval, and/or affiliation of Defendant’s Danskin Ladies Half-Zip and
                    6   Danskin Ladies Half-Zip Hoodie products with Plaintiffs.
                    7         132. Upon information and belief, Defendants’ conduct is willful, deliberate,
                    8   intentional, and in bad faith, constituting exceptional circumstances under the
                    9   Lanham Act.
                 10           133. Defendants’ unauthorized use of the TIDEWATER TEAL™ Mark
                 11     constitutes willful trademark infringement in violation of the Lanham Act, 15 U.S.C.
                 12     § 1125(a), damaging Plaintiffs in an amount to be proven at trial.
                 13           134. Defendant’s infringing conduct has directly and proximately caused
                 14     substantial, irreparable injury to Plaintiffs and to the business and goodwill
                 15     represented by the TIDEWATER TEAL™ Mark, and unless enjoined will continue
                 16     to do so, leaving Plaintiffs without an adequate remedy at law
                 17                                EIGHTH CAUSE OF ACTION
                 18        (False Designation of Origin, Passing Off, & Federal Unfair Competition)
                 19           135. Plaintiffs re-allege and incorporate by reference the allegations in
                 20     paragraphs 1-134 of this Complaint as though fully set forth herein.
                 21           136. This is a claim for unfair competition and false designation of origin
                 22     arising under 15 U.S.C. § 1125(a).
                 23           137. Defendant’s use of the DEFINE Trade Dress, SCUBA Trade Dress,
                 24     ABC Trade Dress, SCUBA Mark, and the TIDEWATER TEAL™ Mark (the
                 25     “lululemon Marks”) without Plaintiffs’ consent, constitutes false designation of
                 26     origin, false or misleading description of fact, false or misleading representation of
                 27     fact, which is likely to cause confusion, or to cause mistake, or to deceive as to the
                 28     affiliation, connection or association of such entity with another entity, or as to origin,
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                    1   sponsorship, or approval of its goods or commercial activities by another entity in
                    2   violation of 15 U.S.C. § 1125(a).
                    3         138. Defendant’s use of lululemon Marks without Plaintiffs’ consent,
                    4   constitutes a false designation of origin, false or misleading description of fact, or
                    5   false or misleading representation of fact, which in commercial advertising or
                    6   promotion, misrepresents the nature, characteristics, qualities, or geographic origin
                    7   of its products or commercial activities in violation of 15 U.S.C. § 1125(a).
                    8         139. Defendant’s use of lululemon Marks, without Plaintiffs’ consent,
                    9   constitutes a false designation of origin, false or misleading description of fact, or
                 10     false or misleading representation of fact, that Defendant and/or its products originate
                 11     from, are sponsored or approved by, and/or are affiliated with Plaintiffs, when they
                 12     are not.
                 13           140. Plaintiffs are informed and believe and, based thereon, allege that
                 14     Defendant’s acts of false designation of origin, passing off, and unfair competition
                 15     have been willful and without regarding to Plaintiffs’ rights.
                 16           141. Pursuant to 15 U.S.C. § 1117, Plaintiffs are entitled to recover (1)
                 17     Defendant’s profits, (2) any damages sustained by Plaintiffs, and (3) the costs of the
                 18     action. In assessing damages, the Court may enter judgment up to three times actual
                 19     damages, and in awarding profits, the Court may in its discretion enter judgment for
                 20     such sum as the Court finds to be just, according to the circumstances of the case.
                 21     The Court may also award Plaintiffs their reasonable attorneys’ fees for the necessity
                 22     of bringing this claim in an exceptional case.
                 23           142. Plaintiffs have been damaged by Defendant’s conduct in an amount to
                 24     be determined at trial.
                 25           143. Due to Defendant’s actions, constituting false designation or origin,
                 26     false or misleading statement, false or misleading description of fact, false or
                 27     misleading representations of fact, passing off, and unfair competition, Plaintiffs
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                    1   have suffered and continue to suffer great and irreparable injury, for which Plaintiffs
                    2   have no adequate remedy at law.
                    3         144. Defendant will continue its false designation of origin, false or
                    4   misleading statements, false or misleading descriptions of fact, false or misleading
                    5   representations of fact, passing off, and unfair competition, unless and until
                    6   Defendant is enjoined by this Court.
                    7                              NINTH CAUSE OF ACTION
                    8       (California Common Law Trade Dress and Trade Mark Infringement)
                    9         145. Plaintiffs re-allege and incorporate by reference the allegations
                 10     paragraphs 1 to 134 of this Complaint as though fully set forth herein.
                 11           146. Defendant’s infringement of the lululemon DEFINE Trade Dress,
                 12     SCUBA Trade Dress, and ABC Trade Dress also constitutes trade dress infringement
                 13     under common law of the state of California.
                 14           147. The Infringing Products imported, distributed, advertised, offered for
                 15     sale, and/or sold by Defendant bear confusingly similar reproductions of the
                 16     lululemon DEFINE Trade Dress, SCUBA Trade Dress, and/or ABC Trade Dress
                 17     respectively, such as to cause a likelihood of confusion as to the source, sponsorship
                 18     or approval by Plaintiffs of the Infringing Products.
                 19           148. Defendant’s unauthorized use of the lululemon DEFINE Trade Dress,
                 20     SCUBA Trade Dress, and/or ABC Trade Dress has caused and is likely to cause
                 21     confusion as to the source of Infringing Products among consumers.
                 22           149. As a direct and proximate result of the foregoing acts, Plaintiffs have
                 23     suffered and will continue to suffer significant injuries in an amount to be determined
                 24     at trial. Plaintiffs are entitled to recover all damages, including attorneys’ fees, that
                 25     they have sustained on account of Defendant’s infringement, and all gains, profits
                 26     and advantages obtained by Defendant as a result of its unlawful acts.
                 27           150. Defendant’s unlawful acts were willful, deliberate, and intended to
                 28     cause confusion among the public, taken in reckless disregard of Plaintiffs’ rights.
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                    1   As such, an award of exemplary and punitive damages is necessary in an amount
                    2   sufficient to deter Defendant’s similar misconduct in the future.
                    3                                TENTH CAUSE OF ACTION
                    4      (California Unfair Competition – Cal. Bus. & Prof. Code § 17200 et. seq.)
                    5         151. Plaintiffs re-allege and incorporate by reference the allegations in
                    6   paragraphs 1 to 60 of this Complaint as though fully set forth herein.
                    7         152. Defendant’s misappropriation and unauthorized use of the DEFINE
                    8   Trade Dress, SCUBA Trade Dress, ABC Trade Dress, SCUBA Mark, and
                    9   TIDEWATER TEAL Mark to promote the Infringing Products is likely to confuse
                 10     or mislead consumers into believing that those products are affiliated with and/or
                 11     approved, authorized, licensed and/or sponsored by Plaintiffs, constituting deceptive,
                 12     unfair and fraudulent business practices and unfair competition in violation of
                 13     California Unfair Business Practices Act, Cal. Bus. & Prof. Code § 17200 et. seq.
                 14           153. Upon information and belief, Defendant’s deceptive, unfair and
                 15     fraudulent business practices were willfully undertaken with full knowledge of the
                 16     DEFINE Trade Dress, SCUBA Trade Dress, SCUBA Mark, and ABC Trade Dress
                 17     and with intent to misappropriate Plaintiffs’ goodwill and reputation established in
                 18     the DEFINE Trade Dress, SCUBA Trade Dress, ABC Trade Dress, SCUBA Mark,
                 19     and TIDEWATER TEAL Mark.
                 20           154. As a direct and proximate result of the foregoing unlawful acts,
                 21     Plaintiffs have suffered and will continue to suffer significant injuries in an amount
                 22     to be determined at trial.
                 23           155. Plaintiffs are entitled to all available relief provided under the California
                 24     Unfair Business Practices Act, Cal. Bus. & Prof. Code § 17200 et. seq., including an
                 25     accounting and disgorgement of all illicit profits that Defendant made on account of
                 26     its deceptive, unfair and fraudulent business practices.
                 27           156. As Plaintiffs have not adequate remedy at law, Plaintiffs are entitled to
                 28     injunctive relief enjoining Defendant from its unlawful acts.
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                    1                           ELEVENTH CAUSE OF ACTION
                    2                    (California Common Law Unfair Competition)
                    3         157. Plaintiffs re-allege and incorporate by reference the allegations in
                    4   paragraphs 1 to 60 of this Complaint as though fully set forth herein.
                    5         158. Defendant’s misappropriation and unauthorized use of the lululemon
                    6   DEFINE Trade Dress, SCUBA Trade Dress, and ABC Trade Dress to promote and
                    7   sell the Infringing Products also constitutes unfair competition in violation of
                    8   common law of the state of California.
                    9         159. Plaintiffs have spent substantial time, resources and effort in creating,
                 10     designing, developing, marketing and selling the DEFINE® jackets and the
                 11     SCUBA® hoodies and sweatshirts, and ABC Pants the embodiments of the
                 12     lululemon DEFINE Trade Dress, SCUBA Trade Dress, and ABC Trade Dress
                 13     respectively, which consumers recognize as originating exclusively from Plaintiffs.
                 14           160. Upon information and belief, Defendant introduced the Infringing
                 15     Products into the stream of commerce in order to exploit Plaintiffs’ goodwill and
                 16     reputation established in the DEFINE® jackets, the SCUBA® hoodies and
                 17     sweatshirts, and the ABC Pants for Defendant’s own financial and commercial gain.
                 18           161. Defendant’s unauthorized use of the lululemon DEFINE Trade Dress,
                 19     SCUBA Trade Dress, and ABC Trade Dress has resulted in Defendant unfairly
                 20     benefitting from Plaintiffs’ goodwill and reputation established in the DEFINE®
                 21     jackets, the SCUBA® hoodies and sweatshirts, and the ABC Pants.
                 22           162. Upon information and belief, Defendant’s unlawful acts are willful,
                 23     deliberate, and intended to cause confusion among the public and taken in reckless
                 24     disregard of Plaintiffs’ rights. As such, an award of exemplary and punitive damages
                 25     is necessary in an amount sufficient to deter Defendant from similar misconduct in
                 26     the future.
                 27           163. As a direct and proximate result of the foregoing acts, Plaintiffs have
                 28     suffered and will continue to suffer significant injuries in an amount to be determined
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                    1   at trial. Plaintiffs are entitled to recover all damages, including attorneys’ fees, that
                    2   Plaintiffs have sustained on account of Defendant’s unfair competition, and all gains,
                    3   profits and advantages obtained by Defendant as a result of its unlawful acts. As
                    4   Plaintiffs have no adequate remedy at law for Defendant’s ongoing unlawful conduct,
                    5   Plaintiffs are also entitled to injunctive relief enjoining Defendant from its unlawful
                    6   acts.
                    7                            TWELFTH CAUSE OF ACTION
                    8                     (Design Patent Infringement – 35 U.S.C. § 271)
                    9           164. Plaintiff lululemon athletica canada inc. re-alleges and incorporates by
                 10     reference the allegations in paragraphs 1 to 60 of this Complaint as though fully set
                 11     forth herein.
                 12             165. Plaintiff lululemon athletica canada inc. also owns a number of patents
                 13     to protect its valuable designs and inventions. For example, lululemon owns U.S.
                 14     Patent Nos. D989,442 and D1,035,219, which cover the ornamental design of the
                 15     SCUBA® hoodies (collectively, the “Asserted Patents”).
                 16             166. Plaintiff lululemon athletica canada inc. is the owner by assignment of
                 17     all rights, title and interest in and to the Asserted Patents.
                 18             167. Defendant, through its agents, employees and/or servants has
                 19     knowingly, intentionally, and willfully infringed, and upon information and belief
                 20     continues to infringe, the Asserted Patents by making, using, selling, offering for sale,
                 21     and/or importing products, including the Danskin Half-Zip Pullover and the Danskin
                 22     Half-Zip Hoodie (“Danskin Pullover Products”) in violation of 35 U.S.C. § 271.
                 23             168. An ordinary observer, giving such attention as a purchaser usually gives,
                 24     would perceive the design of the Infringing Products to be at least substantially the
                 25     same as the designs of the Asserted Patents because the resemblance is such as to
                 26     deceive such an observer inducing them to purchase one supposing it to be the other.
                 27             169. Upon information and belief, Defendant imported into the U.S.,
                 28     distributed, advertised, marketed, offered for sale and/or sold infringing Danskin
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                    1   Pullover Products, an exemplar of which is shown below next to Fig. 1 of U.S. Patent
                    2   No. D1,035,219 covering Plaintiffs’ genuine SCUBA apparel:
                    3           U.S. Patent No. D1,035,219                Danskin Half-Zip Pullover
                    4
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                 18           170. Upon information and belief, Defendant imported into the U.S.,
                 19     distributed, advertised, marketed, offered for sale and/or sold infringing Danskin
                 20     Hoodie Products, an exemplar of which is shown below next to Fig. 1 of U.S. Patent
                 21     No. D989,442 covering Plaintiffs’ genuine SCUBA apparel:
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                    1
                                 U.S. Patent No. D989,442                Danskin Half-Zip Hoodie Front
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                              171. The Federal Circuit has held that a design patent is infringed if the
                 21
                        accused product looks substantially the same, in light of the existing prior art, to the
                 22
                        patented design in the eyes of an ordinary observer. Egyptian Goddess, Inc. v. Swisa,
                 23
                        Inc., 543 F.3d 665, 682-83 (Fed. Cir. 2008). As can be seen in the side-by-side
                 24
                        comparisons of representative figures from the D219 and D442 Patents above, the
                 25
                        Danskin Pullover Products are “substantially the same” to Plaintiffs’ patented design,
                 26
                        and thus, infringe.
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                    1            172. Plaintiff lululemon athletica canada inc. has not granted Defendant a
                    2   license or otherwise given Defendant any permission to the Asserted Patents and
                    3   Defendant’s infringement of the Asserted Patents is in total disregard of Plaintiff
                    4   lululemon athletica canada inc.’s patent rights.
                    5            173. Plaintiff lululemon athletica canada inc. has suffered and will continue
                    6   to suffer significant damages in an amount to be determined at trial as a direct and
                    7   proximate result of Defendant’s infringement. Pursuant to 35 U.S.C. §§ 284 and 289,
                    8   Plaintiff lululemon athletica canada inc. is entitled to recover all damages it has
                    9   sustained on account of Defendant’s infringement, including all gains and profits and
                 10     other commercial advantages unlawfully obtained by Defendant.
                 11              174. Defendant’s infringement is willful, deliberate, and done in reckless
                 12     disregard of the Asserted Patents despite having been on notice. Defendant
                 13     knowingly took these actions understanding the objectively high likelihood its
                 14     actions constituted infringement of the Asserted Patents. Defendant’s willful acts
                 15     make this an exceptional case entitling Plaintiff lululemon athletica canada inc. to
                 16     enhanced damages and reasonable attorneys’ fees in accordance with 35 U.S.C.
                 17     § 285.
                 18              175. There is no adequate remedy at law that can fully compensate Plaintiff
                 19     for the harm caused by Defendant’s infringement of the Asserted Patents, which is
                 20     ongoing, unless Defendant’s unlawful acts are enjoined by this Court. Plaintiff
                 21     lululemon athletica canada inc. is entitled to injunctive relief under 35 U.S.C. § 283
                 22     enjoining Defendant from its continuing infringement of the Asserted Patents.
                 23                                    PRAYER FOR RELIEF
                 24              WHEREFORE, lululemon athletica canada inc. and lululemon usa inc.
                 25     respectfully pray for judgment against Costco Wholesale Corporation as follows:
                 26              1.    Enter judgment that Defendant has violated the Lanham Act, 15 U.S.C.
                 27     § 1125(a), the California Unfair Business Practices Act, Cal. Bus. & Prof. Code §
                 28
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                    1   17200 et. seq., the patent laws of the United States, 35 U.S.C. § 1 et seq., and the
                    2   common law of California,
                    3         2.      Enter judgment against Defendant that the above acts were willful and
                    4   intentional, making this an exceptional case.
                    5         3.      An Order that Defendant pay to Plaintiff lululemon athletica canada inc.
                    6   actual damages in the form of lost profits, or in the alternative, other damages
                    7   adequate to compensate for its patent infringement, but in no event less than a
                    8   reasonable royalty for the use made of the Plaintiff lululemon athletica canada inc.’s
                    9   design patents in accordance with 35 U.S.C. § 284 and/or, at Plaintiff’s election,
                 10     Defendant’s total profits as a result of Defendant’s infringement of Plaintiff’s design
                 11     patents, pursuant to 25 U.S.C. § 289;
                 12           4.      Enter an order permanently enjoining and restraining Defendant and its
                 13     officers, directors, agents, employees, attorneys, successors, and assigns, and all
                 14     others in active concert or participation with any of them, from:
                 15                   a.    Manufacturing, importing, advertising, marketing, promoting,
                 16           supplying, distributing, offering for sale, or selling Infringing Products or any
                 17           other products that are identical or confusingly similar to Plaintiffs’ DEFINE
                 18           Trade Dress, SCUBA Trade Dress, and ABC Trade Dress.
                 19                   b.    Manufacturing, importing, advertising, marketing, promoting,
                 20           supplying, distributing, offering for sale, or selling Infringing Products or any
                 21           other products under the SCUBA Mark and the TIDEWATER TEAL Mark or
                 22           any confusingly similar mark to the SCUBA Mark or the TIDEWATER TEAL
                 23           Mark.
                 24                   c.    Manufacturing, importing, advertising, marketing, promoting,
                 25           supplying, distributing, offering for sale, or selling Infringing Products or any
                 26           other products that infringe the Asserted Patents.
                 27                   d.    Committing any acts calculated to cause consumers to believe
                 28           that Defendant’s goods are sold under the authorization, control or supervision
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                    1         of Plaintiffs, or are sponsored by, approved by, or otherwise connected with
                    2         Plaintiffs;
                    3                 e.    Otherwise engaging in any other activity constituting unfair
                    4         competition with Plaintiffs, or acts and practices that deceive consumers, the
                    5         public and/or the trade, including without limitation, the use of indicia,
                    6         designations and design elements used or owned by or associated with
                    7         Plaintiff; and
                    8                 f.    Causing, engaging in or permitting others to do any of the
                    9         aforesaid acts.
                 10           5.      Order Defendant to remove from any print or digital materials, or the
                 11     internet, including its websites and social media accounts, any advertising or
                 12     promotion or other activities that display the Infringing Products, or any confusingly
                 13     similar products;
                 14           6.      Order Defendant to file with the Court and serve on counsel for
                 15     Plaintiffs within thirty (30) days after the entry of any injunction issued by the Court
                 16     in this action, a sworn written statement as provided in 15 U.S.C. § 1116(a) setting
                 17     forth in detail the manner and form in which Defendant has complied with the
                 18     injunction;
                 19           7.      Enter an order for an accounting of all gains, profits and advantages
                 20     derived by Defendant on account of the unlawful acts complained of herein pursuant
                 21     to 15 U.S.C. § 1117(a), and any other applicable federal statute or California state
                 22     and common law;
                 23           8.      Award damages equal to Defendant’s profits and all damages sustained
                 24     by Plaintiffs as a result of Defendant’s unlawful acts;
                 25           9.      Award treble damages on account of Defendant’s willful infringement
                 26     and punitive damages for violations of California law;
                 27           10.     Plaintiffs’ costs, attorneys’ fees, and interest as allowed under
                 28     applicable federal and California state laws; and
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                    1         11.     For such other and further relief as the Court may deem necessary, just,
                    2   and proper.
                    3                             DEMAND FOR JURY TRIAL
                    4         Plaintiffs hereby demand a jury trial on all claims herein.
                    5
                        Dated:        June 27, 2025                 MORGAN, LEWIS & BOCKIUS LLP
                    6                                               Ali Razai
                    7                                               By: /s/ Ali S. Razai
                                                                       Ali S. Razai
                    8                                                  Brandon G. Smith
                                                                       Jack Hendershot
                    9
                                                                    Attorneys for Plaintiff
                 10                                                 LULULEMON ATHLETICA
                                                                    CANADA, INC.
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